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                        IN THE UNITED STATES BANKRUPTCY
                            COURT FOR THE DISTRICT OF
                                    DELAWARE


  In re:                                                Chapter 11

  BOY SCOUTS OF AMERICA AND                             Case No. 20-10343 (LSS)
  DELAWARE BSA, LLC,
                                                        (Jointly Administered)
                         Debtors.


                      DECLARATION OF JOSHUA R. SCHWARTZ

       I, Joshua R. Schwartz, pursuant to the provisions of 28 U.S.C. § 1746(2) declare under

the penalty of perjury as follows:

       1.      I am Managing Counsel and Director of Reinsurance Litigation for Chubb

Group. One of my responsibilities involves retaining and overseeing counsel in reinsurance

billing disputes for insurance coverage claims involving Century Indemnity Company as

successor to CCI Insurance Company, as successor to Insurance Company of North America

(“Century”), and other Chubb entities, including those involved in the Boy Scouts of America

(BSA) bankruptcy (collectively, “Chubb”).

       2.      Chubb is a longtime client of the Insurance and Financial Services practice group

of Sidley Austin LLP (“Sidley”). Over the last decade, Sidley has represented Chubb in

connection with over a dozen matters. Many of those matters were by agreement (or order)

privately arbitrated to protect information that was the subject of the disputes. Attorney William

Sneed of Sidley is a recognized expert in arbitrations involving reinsurance and the underlying

insurance and insurance coverage claims.

       3.      In the course of its years of work for Chubb, Sidley has developed extensive

knowledge of highly privileged information about Century’s insurance and reinsurance programs

that apply beyond any single policyholder or matter. I know from my attorney-client interactions
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with Attorney Sneed, among others, that he has extensive privileged information concerning our

reinsurance and insurance programs.

        4.      On October 5, 2018, Chubb retained Sidley to represent Century in connection

with the BSA’s insurance for molestation claims and Century’s efforts to obtain reinsurance

coverage for those claims. The initial matter we asked Sidley to handle involved a reinsurance

dispute with Lloyd’s of London over policies that Century issued to the Boy Scouts. As of

August 2019, Sidley was also advising Century in an arbitration with another reinsurer involving

policies Century issued to the BSA and reinsurance for claims under those BSA policies.

Throughout this same period, Sidley was also working on other matters for Chubb, including an

arbitration against a different reinsurer.

        5.      As Century’s counsel in the BSA matters, Sidley was privy to highly confidential

information about Chubb’s insurance coverage for the BSA and agreements concerning it. This

includes privileged information concerning the disputes between Century and the Boy Scouts

over its insurance coverage, Century’s privileged legal analysis of the BSA’s claims, and

Century’s privileged legal strategies and defenses in these matters.

        6.      As a condition of its acceptance of engagements from Chubb, Sidley agreed to

abide by the provisions of the companies’ Service Level Agreement (“SLA”) for law firms. A

true and correct copy of the SLA is attached as Exhibit 1.

        7.      Pursuant to this agreement, Sidley agreed “to identify and bring to the attention of

the Client, in writing, any circumstances that may create or involve a conflict of interest.” On

any newly retained matter, Sidley agreed to “confirm the absence of any conflicts of interest.”

And Sidley agreed that if it “identifies a potential conflict after it has begun work for [Chubb], it

shall make all reasonable efforts to resolve that conflict in a manner that will allow [Sidley]’s




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continued representation of [Chubb].” In addition, Sidley agreed to abide by the rules of

professional conduct applicable to attorneys.

       8.      Unbeknownst to Chubb at the time, Sidley appears to have taken on the

representation of the BSA sometime after it was engaged by Century on BSA matters and while

it was engaged by Chubb on other matters. Sidley did not seek a written waiver from Chubb to

do so. At the time of Sidley’s concurrent representation of Chubb and BSA, there were pending

declaratory judgment actions in Texas and Illinois seeking an adjudication of the parties’ rights

under the BSA insurance policies issued by Century and other Chubb entities.

       9.      Prompted by a Wall Street Journal article citing an anonymous source, in mid-

December 2018, I asked Attorney Sneed whether Sidley was representing the BSA. Attorney

Sneed said he could not comment on press stories and reassured me that Sidley was not

conflicted and could work on the BSA matter and other matters. Based on these assurances,

Chubb continued to work with Sidley on multiple matters, including the Lloyd’s matter

involving the BSA sexual molestation claims. Chubb also assigned new matters to Sidley,

including a related litigation to compel arbitration against Lloyd’s in the District of

Massachusetts regarding disputed BSA reinsurance billings.

       10.     On January 8, 2019, Attorney Sneed told me that Sidley’s new leadership was

seeking prospective waivers for non-litigation matters and that he could not accept new

assignments without the prospective waiver. He followed up with an email regarding this

request on January 10, 2019, a true and correct copy of which is attached as Exhibit 2. On

February 20, 2019, Attorney Sneed and Mike Goldman, head of Sidley’s Insurance and Financial

Services group and a member of its Executive Committee, spoke with me. They told me that

Sidley had modified its request from a month earlier and was now only seeking a prospective

waiver for bankruptcy and restructuring matters, but—crucially—they said nothing in the

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proposed waiver request, or in the parties’ conversations, about Sidley representing the BSA,

even though Sidley had apparently undertaken that representation earlier.

       11.     On February 28, 2019, Attorney Sneed sent me proposed advanced waiver

wording for restructuring matters without requesting a waiver for the Boy Scouts or otherwise

mentioning the BSA. On March 4, 2019, Chubb rejected Sidley’s proposed advance waiver

wording and provided alternative wording. On March 21, 2019, Attorney Sneed advised me that

Sidley had dropped the request and would be fine proceeding pursuant to the SLA with regard to

conflicts, and Century never granted a prospective waiver or waived any conflict of interest.

After this exchange (and as referenced above), in August 2019, Attorney Sneed told Century that

he had cleared conflicts for Sidley to represent Century in an arbitration with another reinsurer,

again stemming from Century’s policies with the BSA and disputes over reinsurance for them.

       12.     I did not know at the time but have since learned that in late September 2019, the

BSA invited the persons handling its insurance coverage at Chubb to a meeting on October 14,

2019, at which Sidley appeared. Since separate groups inside Chubb handle direct insurance and

reinsurance, it was not until the end of October that anyone on the reinsurance side learned about

the October 14 meeting and realized that Sidley was concurrently representing Century and the

BSA.

       13.     On October 29, 2019, I conveyed Chubb’s concerns to Attorney Sneed (orally and

in writing) about a conflict of interest with Sidley and Attorney Sneed, and conveyed that Chubb

did not consent to the dual representation and was analyzing the issues. I followed up on that

email on November 20, 2019, and asked to review Sidley’s General Counsel’s opinion or other

analysis of the conflict. A true and correct copy of these emails to Attorney Sneed, dated

October 29, 2019 and November 20, 2019, are attached as Exhibit 3. Attorney Sneed advised me




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that he had not thought about this issue since the spring and that his partners told him there is no

conflict, but he did not explain to me why.

       14.       On November 3, 2019, the Chubb representatives handling the BSA coverage

separately advised Sidley and the BSA that they had just learned about the concurrent

representation, advised them that Chubb had not consented to a dual representation, and

proposed adjourning a planned mediation.

       15.       On December 3, 2019, while denying that a conflict existed, Sidley’s bankruptcy

counsel for the BSA asked Century to consent to its continued representation of the BSA, while

concurrently working on behalf of Century in the reinsurance matters. Sidley also stated on

December 3, 2019, that it had instituted a “screen” to ensure that Sidley’s BSA bankruptcy team

and the Sidley reinsurance lawyers would not share information, but that only raised more

concerns since Sidley confirmed that the screen had not been in place before November 4, 2019.

A copy of Sidley partner Michael Andolina’s email, dated December 3, 2019, is attached as part

of Exhibit 4.

       16.       On December 12, 2019, I emailed Attorney Sneed and other Sidley attorneys to

ask for further clarification on Sidley’s analysis of the conflict and to clarify information

regarding Sidley’s screen. A true and correct copy of that email, dated December 12, 2019, is

attached as part of Exhibit 4. Sidley’s response dismissed our concerns about the conflict as a

“distraction.” A true and correct copy of Sidley partner Michael Andolina’s email, dated

December 16, 2020, is attached as part of Exhibit 4.

       17.       On December 18, 2019, I spoke with Attorney Sneed together with Christine

Russell of Chubb about the conflict. In that call, Attorney Sneed told us that Sidley would

continue to represent the BSA and that if Chubb could not “live with” the situation, Sidley would




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unilaterally terminate the attorney-client relationship between Chubb and Sidley for all pending

matters, including the BSA reinsurance matters.

        18.     In a letter dated January 3, 2020, I informed Sidley partner Michael Andolina that

Chubb would not waive the conflict and rejected Sidley’s attempt to withdraw. A true and

correct copy of my letter of January 3, 2020, is attached as Exhibit 5.

        19.     On January 16, 2020, Sidley’s General Counsel Linton Childs sent me a letter

confirming that a formal “wall” had only been in place since November and advising that Sidley

would be withdrawing from its representations of Chubb. Sidley’s General Counsel expressed

that view that there had been no contact between Sidley’s lawyers working for Chubb on BSA

reinsurance matters and for BSA before November but without a wall being in place before then

we had no way to confirm that was the case. A true and correct copy of that letter is attached as

Exhibit 6. Also on January 16, 2020, Attorney Sneed sent me a letter setting out Sidley’s

intention to withdraw and the schedule and manner in which it intended to do so. A true and

correct copy of that letter is attached as Exhibit 7.

        20.     In a letter dated January 30, 2020, I explained to Attorney Sneed in detail why the

firm’s abrupt withdrawal would prejudice Century’s interests in each pending matter. I also

instructed Sidley not to discuss the conflict issue with arbitrators or opposing parties without

Chubb’s written permission. Despite these objections, and without allowing Century to better

position itself for the withdrawal of its counsel, Sidley went forward with its unauthorized

attempt to withdraw from the pending matters. A true and correct copy of my letter of January

30, 2020, is attached as Exhibit 8.

        21.     Shortly before the BSA bankruptcy filing, on January 27, 2020, Sidley filed a

motion to withdraw from litigation related to the Lloyd’s BSA reinsurance arbitration pending in

the District of Massachusetts and requested that the court expedite Century’s response time from


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14 to 7 days. Chubb subsequently consented to the withdrawal after it secured replacement

counsel and reached an agreement with Sidley that the withdrawal would be on a without

prejudice basis to Chubb’s rights pursuant to the SLA and to Chubb’s rights regarding Sidley’s

desire to continue representing the BSA.

        22.     On February 18, 2020, the BSA filed for bankruptcy. The following day,

Attorney Sneed advised me that he was going to tell the panel in one of the arbitrations that

Sidley is withdrawing. Despite my request that he not do so, Attorney Sneed proceeded to notify

the Panel in that arbitration the following day that Sidley would withdraw. Also on February 20,

2020, Attorney Sneed also contacted the Panel in another arbitration and advised that Panel that

he was withdrawing, even though we did not have alternative counsel ready to take over the

matter, our counterparty had expressed a desire to talk settlement and the parties had agreed to a

stay of the arbitration to talk settlement. True and correct copies of my emails requesting that

Sidley not notify the Panels that Sidley was withdrawing are attached as Exhibits 9 and 10. True

and correct copies of Attorney Sneed’s withdrawal emails are attached as Exhibits 11 and 12.

On February 24, 2020, without notice to Chubb or its consent, Sidley called the arbitrators in the

Lloyd’s matter and advised that he was withdrawing.

        23.     On March 10, 2020, I wrote a letter reiterating Chubb’s objection to Sidley’s

conduct, explaining some of the ways in which it was prejudiced by Sidley’s attempt to

unilaterally withdrawal, and gave notice that Sidley’s behavior breached the parties’ SLA. A

true a correct copy of this letter is attached as Exhibit 13.

        24.     On March 16, 2020, Century invited Sidley to a pre-arbitration discussion per

paragraph 7.2 of the SLA. The following day, March 17, 2020, Sidley filed its retention

application.




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       25.     It would be highly detrimental to Chubb for Debtors’ counsel to be party to its

privileged information concerning the BSA and its insurance coverage in the negotiation of the

terms of a plan and a host of other issues core to the role of Debtors’ counsel to BSA.

       26.     As Century’s counsel, I know that Sidley received privileged information

concerning the disputes between Century and the BSA over its insurance coverage, Century’s

privileged legal analysis of the Boy Scouts’ claims, and Century’s privileged legal strategies and

defenses. As insurance coverage is a central asset around which a reorganization is planned,

knowledge of Century’s legal analysis, strategy, and positions with regard to this asset is of

obvious relevance to formulating a plan and negotiating with tort claimants and insurers about

the terms of a plan.

       27.     Information obtained by Sidley attorneys during the course of its representations

of Chubb, generally and with respect to matters concerning the BSA specifically, would be at

risk of exposure to Debtors if Sidley is allowed to advocate for the Debtors. The risk to Chubb

is exacerbated by the sheer weight, complexity, and duration of Sidley’s interactions with

Chubb over the years—and the continuation of this relationship into 2020—not to mention the

immediately relevant body of highly privileged and confidential information that Sidley

possesses about Chubb’s insurance for the BSA from its handling of reinsurance matters

concerning the same policies that are at issue in the bankruptcy.

          28. Chubb attempted to resolve these conflicts amicably, in a way that would

facilitate a smooth transition of the BSA engagement, right up until Sidley unilaterally contacted

arbitrators in the pending matters to withdraw. I made repeated requests for Sidley to provide its

General Counsel’s opinion or other analysis as to why it claimed there was no conflict of

interest. Sidley did not do so. When these efforts failed, Chubb sought the advice of a leading




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ethics expert in Delaware, Charles Slanina, to get his independent perspective. Mr. Slanina’s

advice is reflected in his declaration.

          29. Century is filing this Objection as a last resort, only after all efforts to resolve this

matter with Sidley have failed.



Dated: April 9, 2020

                                               Respectfully submitted,

                                               /s/ Joshua R. Schwartz

                                               JOSHUA R. SCHWARTZ




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            SERVICE LEVEL AGREEMENT
      FOR THE PROVISION OF NON-CLAIMS LEGAL
                     SERVICES




Between


ACE INA Holdings Inc.
(Hereinafter referred to as “ACE”)


and




______________________________________________________
(Hereinafter referred to as the “Law Firm”)



Dated: _______________________________________________
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From:                           Schwartz, Joshua R <Joshua.Schwartz@chubb.com>
Sent:                           Wednesday, February 19, 2020 5:58 PM
To:                             Sneed, William M.
Subject:                        RE: Arb: Century Indemnity &                       - (PLEASE CONFER & GET
                                BACK TO PANEL RE POSSIBLE OM AT MAY ARIAS MEETING)


Bill, as mentioned in my prior letter, we do not agree that you are allowed to withdraw from this case. Given
that we are in the midst of settlement negotiations, it would be very prejudicial to Chubb and destabilizing to
the negotiations if you were to notify the panel and opposing counsel that you are withdrawing from the case.
We also have not secured replacement counsel. Given that we are in a standstill period in the matter as we try
to negotiate a settlement, we are at a loss to understand why you are unwilling to maintain the status quo while
we negotiate with           Please refrain from notifying the panel and opposing counsel.

Chubb reserves all rights.

Joshua R. Schwartz
Managing Counsel - Director of Reinsurance Litigation

436 Walnut Street, Philadelphia, PA 19106
O 215-640-2107 M 267-449-6058 F 215-640-4020

ACE and Chubb are now one.


-----Original Message-----
From: Sneed, William M. [mailto:wsneed@sidley.com]
Sent: Wednesday, February 19, 2020 5:45 PM
To: Schwartz, Joshua R
Subject: [EXTERNAL] FW: Arb: Century Indemnity &                                    - (PLEASE CONFER &
GET BACK TO PANEL RE POSSIBLE OM AT MAY ARIAS MEETING)

Josh:

This email went to the Panel this afternoon after              agreed that we should target late Thursday at
the ARIAS conference (May 7) for the re-scheduled OM, if it is necessary.

We will be informing the Panel and opposing counsel that our firm is withdrawing from representation of
Century in this matter.

WILLIAM M. SNEED


SIDLEY AUSTIN LLP
+1 312 853 7899
wsneed@sidley.com


-----Original Message-----
From: Sneed, William M.
Sent: Wednesday, February 19, 2020 2:26 PM

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       EXHIBIT 10
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From:                               Schwartz, Joshua R <Joshua.Schwartz@chubb.com>
Sent:                               Wednesday, February 19, 2020 5:51 PM
To:                                 Sneed, William M.
Cc:                                 Wamser, Thomas J;
Subject:                            RE: Chubb/        Arbitration


Bill,

We do not agree that you are allowed to unilaterally withdraw from this case because we will not waive the conflict
regarding Boy Scouts. We also do not agree that you can notify the panel about your desire to withdraw. The panel
does not have authority to adjudicate the issue, and your notifying the panel in such a manner will prejudice us before
the panel. Please do not do so.

We reserve all of our rights on this issue.



Joshua R. Schwartz
Managing Counsel - Director of Reinsurance Litigation

436 Walnut Street, Philadelphia, PA 19106
O 215-640-2107 M 267-449-6058 F 215-640-4020

ACE and Chubb are now one.

From: Sneed, William M. [mailto:wsneed@sidley.com]
Sent: Wednesday, February 19, 2020 5:41 PM
To: Schwartz, Joshua R
Cc: Wamser, Thomas J;
Subject: [EXTERNAL] RE: Chubb/         Arbitration

Josh:

We saw                   email to the Panel this afternoon. It is does not inform the Panel that Sidley is withdrawing
from the matter entirely. Consequently, as explained in my email yesterday, we will be informing the Panel that Sidley is
withdrawing from the matter entirely.


WILLIAM M. SNEED


SIDLEY AUSTIN LLP
+1 312 853 7899
wsneed@sidley.com



        From: Schwartz, Joshua R <Joshua.Schwartz@chubb.com>
        Sent: Tuesday, February 18, 2020 1:09 PM
        To: Sneed, William M. <wsneed@sidley.com>


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Cc: Wamser, Thomas J <Thomas.Wamser@Chubb.com>;
Subject: RE: Chubb/      Arbitration

Bill:

Thanks for your email. Chubb and          will clear up the confusion caused by              email.



Joshua R. Schwartz
Managing Counsel - Director of Reinsurance Litigation

436 Walnut Street, Philadelphia, PA 19106
O 215-640-2107 M 267-449-6058 F 215-640-4020

ACE and Chubb are now one.

From: Sneed, William M. [mailto:wsneed@sidley.com]
Sent: Tuesday, February 18, 2020 12:36 PM
To: Schwartz, Joshua R
Cc: Wamser, Thomas J;
Subject: [EXTERNAL] FW: Chubb/          Arbitration

Josh:

As you know, we informed Chubb on January 16, 2020 of our intention to withdraw from this case, subject to
our willingness to complete the depositions then scheduled in February. Given that those dates were taken off
calendar at the request of           (acting on behalf of Chubb), we do not think there is any reason for us to
continue other than ensure an orderly transition to           .

While we do not agree that you have the right to prohibit us from communicating our withdrawal to the Panel,
we have nevertheless refrained from doing so. However, based on the communication below, it appears that
       and the Panel may have an inaccurate understanding of the situation. Accordingly, we request that
Chubb or            promptly inform the Panel that Sidley will be withdrawing from the matter entirely.

Should this not happen by close of business tomorrow, we will notify the Panel directly. Thank you for your
attention to this matter.

From:
Sent: Tuesday, February 18, 2020 11:10 AM
To:
Cc: Sneed, William M. <wsneed@sidley.com>;


Subject: Re: Chubb/         Arbitration

Dear Panel Members:


The agreed schedule in this Arbitration called for the completion of fact discovery by Friday, February 14, 2020,
with the hearing scheduled for the week of May 18. Two days before deposition discovery was scheduled to
begin (and just one day after Chubb sent our last status report to the Panel), Chubb requested to postpone
discovery, as well as the hearing. At that time, we were advised that Chubb needed to replace Sidley Austin as
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counsel of record because of conflict issues. Although        would have thought any such conflicts would
have been known to Chubb and/or Sidley at the start of this case,       agreed to the postponement.


However, while drafting what was to be a joint message to this Panel notifying you of this change in schedule,
         requested that the message clearly state that                is ”replacing” Sidley as Chubb’s counsel, not
just ”joining” as additional counsel.           , however, refuses to reply to our request and appears to insist
that the message merely state that               is “joining” as counsel. If true, this not only contradicts the
original reason given for delaying discovery but also is not a valid justification for a continuance of the discovery
or final hearing demanded by Chubb.            has sought clarification but has heard nothing further from Chubb
or its lawyers. Unfortunately, as we have waited, the original deadline for completing fact discovery has passed.


         has been hesitant to approach the Panel to request its assistance in this matter. However, with Chubb
and its lawyers apparently unwilling to proceed with discovery as scheduled or provide a clear and valid
justification for the delay caused by its change and/or addition of counsel,        is left with no choice but seek
guidance from this Panel.


We specifically request two things: first, that the Panel require Chubb to immediately confirm which lawyers are
representing it in this arbitration; and second, require Chubb and its lawyers to confirm potential hearing dates
which might be available for it and its lawyers.          has sought the answer to both questions directly and
Chubb has, to date, offered no response.

Best Regards,




        On Feb 3, 2020, at 11:44 AM,                                                wrote:



        CAUTION: This email originated outside of the organization.

        Dear Counsel:

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Thank you for the update. The Panel agrees the schedule change the parties have
proposed.

for the Panel




============================================================================
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This e-mail, and any attachments thereto, is intended only for use by the addressee(s) named herein and
may contain legally privileged and/or confidential information. If you are not the intended recipient of this
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thereof.




On Mon, Feb 3, 2020 at 10:46 AM Sneed, William M. <wsneed@sidley.com> wrote:

 Dear Arbitrators:



 This is a Joint Status Report submitted in accordance with the schedule in this
 Arbitration. Since the last status report, the parties have scheduled four depositions,
 which are to take place this month. Due to scheduling conflicts, the parties jointly
 request that the Panel amend the End of Fact Discovery deadline in the schedule from
 February 14 to February 28, with no other deadlines changed.



 WILLIAM M. SNEED


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 wsneed@sidley.com
 www.sidley.com


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       EXHIBIT 11
                      Case 20-10343-LSS             Doc 539       Filed 05/02/20    Page 72 of 83




From:                               Sneed, William M. <wsneed@sidley.com>
Sent:                               Thursday, February 20, 2020 8:19 AM
To:                                 Schwartz, Joshua R; Wamser, Thomas J
Cc:
Subject:                            [EXTERNAL] FW: Chubb/            Arbitration


Josh, Tom:

FYI

If you or               have any requests re the case (i.e., witness files), please let me know.


WILLIAM M. SNEED


SIDLEY AUSTIN LLP
+1 312 853 7899
wsneed@sidley.com



From: Sneed, William M.
Sent: Thursday, February 20, 2020 7:16 AM
To:
Cc:

Subject: RE: Chubb/           Arbitration

Dear Arbitrators:

Please be advised that Sidley Austin LLP is withdrawing entirely from representation of Chubb in this matter. Please
remove us from your service lists.


WILLIAM M. SNEED


SIDLEY AUSTIN LLP
+1 312 853 7899
wsneed@sidley.com



        From:
        Sent: Wednesday, February 19, 2020 3:52 PM
        To:

        Cc:
        Subject: RE: Chubb/           Arbitration

        Dear Panel:

                                                              1
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Case 20-10343-LSS   Doc 539   Filed 05/02/20   Page 74 of 83
Case 20-10343-LSS   Doc 539   Filed 05/02/20   Page 75 of 83
            Case 20-10343-LSS          Doc 539        Filed 05/02/20      Page 76 of 83



Best Regards,




On Feb 3, 2020, at 11:44 AM,                                     wrote:




       CAUTION: This email originated outside of the organization.




       Dear Counsel:




       Thank you for the update. The Panel agrees the schedule change the parties have proposed.



       for the Panel



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=====================================================================================
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On Mon, Feb 3, 2020 at 10:46 AM Sneed, William M. <wsneed@sidley.com> wrote:

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 other deadlines changed.



 WILLIAM M. SNEED

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            Chicago, IL 60603
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            <image001.png>




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